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EXHIBIT 1

BXHIBIT 1
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Ey Attornays for Plointitts

CONSENT FORM FOR WAGE CLAIM

Printed Name: Marlonesha Becker

1. | consent and agree to be represented by Kristensen Weisberg, LLP and
to pursue my claims of unpaid overtime and/or minimum wage through the
lawsuit filed against my employer under the Fair Labor Standards Act and/or

applicable state laws.

2, | intend to pursue my claim individually, unless and until the court certifies
this case as a collective or class action. | agree to serve as the class
representative if the court approves. If someone else serves as the class
representative, then | designate the class representatives as my agents to make
decisions on my behalf concerning the litigation, the method and manner of
conducting the litigation, the entering of an agreement with the plaintiffs’ counsel
concerning attorney's fees and casts, and all other matters pertaining to this

lawsuit.

3. If my consent farm is stricken or if | am for any reason not allowed to
participate in this case, | authorize Plaintiffs’ counsel to use this Consent Form to

re-file my claims in a separate or related action against my employer.

DecuSigned by:
I.
(Signature) [/ (Date Signed) 9/27/2019
Marlonesha Becker

 

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